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PRISONERS CIVIL RIGHTS COMPLAINT (Rew, 08/2015)

Clerk, US, District Court
IN THE UNITED STATES DISTRICT COURT Soutem De ote
FOR THE Southern DISTRICT OF TEXAS
Corpus Christi DIVISION JAN 9 2017
David J. Bradley, Clerk of Court

Alex Roy ~- TDCJ-CID #00480829)
Plainuff’s Name and 1D Number

William G. McConnell Unit - TDCJ-CID

Place of C ‘onfine ment

CASE NO.
(Clerk will assign the number)

Tanya Lawson
3001 South Emily Drive

Beeville,tTexas--78102--—-.------____
Defendant's Name and Address
Isaac Kwarteng

3001 South petty Drive
Resend Bis S Ra Ame Sand OF ess
usanna Co

3001 South Pani ly Drive

Beeville,;—Texas—--78: re eee ttt
Defendant's Name and OF cs

(DO NOT USE “ET AL.”)

INSTRUCTIONS - READ CAREFULLY

NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

}. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare

a“.

under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ONIT.

incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “WENUE LIST™ is posted in your unit
law library. [tis a list of the Texas prison units indicating the appropriate district court, the division and an address

list of the divisional clerks.

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FILING FEE AND IN FORM4 PAUPERIS (iFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 pilus an
administrative tec of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis. setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “.., if a prisoner brings a civil action or files an
appeal in forma pauperis. the prisoner shall be required to pay the full amount of a filing fee.” See 28 US.C.
§ 1915. Thus, the court is required to assess and, when funds exist. collect. the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed im forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, unul the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis. )

4. If you intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal court relating to vourimprisonment? = - YES XX NO

B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one

lawsuit. describe the additional lawsuits on another piece of paper. giving the same information.)

1. Approximate date of filing lawsuit: N/A _ an a
2. Parties to previous lawsuit:
Piainuff(s) _ N/A ee
Defendant(s) ee N/A ee
3. Court: (If federal. name the district: if state. name the county.) N/A
4. Cause number: __ N/A
5. Name of judge to whom case was assigned: N/A _ a
6. Disposition: (Was the case dismissed, appealed, still pending?) N/A _ oo.
7. Approximate date of disposition: N/A eee

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William G. McConnell Unit ~ TDCJ~CID
PLACE OF PRESENT CONFINEMENT: 3001 South Emily Drive, Bee County, Beeville, Texas
78102

EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausicd all steps of the institutional grievance procedure? XXXYES NO

Ajjach a copy of your final step of the grievance procedure with the response supplied by the institution,
See Attache ion'') .
ee Attached Documentation")

PARTIES TO THIS SUIT:
A. Name and address of plaintiff; Alex Roy - TDCJ-CID #00480829

William G. McConnell Unit - TDCJ-CID 3001 South Fmily Drive
Bee County, Beeville, Texas 78102

B, Fullname ofeach defendant, his official position, his place of employment, and his full mailing address.

Defendant#1: Tanya Lawson 1, Practice Manager, Unit Medical Department, UTMB
William G. McConnell Unit, 3001 South Emily Drive Bee County, Beeville, Texas. 78102

Briefly describe the act(s) or omissian(s) of this defendant which you claimed harmed you.

William G. McConnell Unit, 3001 South Fmily Drive, Bee County, Beeville, Texas 78102
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Was reviewed by Dr.Kwarteng, was told my "Numbers" didn't meet the critiera for UIMB
for treatment, thus denied me medical relief.

Defendant #3:_ Susanna Corbett, Mid-Level Provid Uni j __UTMB.

William G. McConnell Unit, 3001 South Emily Drive, Bee County, Beeville, Texas 78102

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Ms. Corbett was the original provider who first told me that my numbers allowed me to
be treated, and that she would refer me, she then came back later, and removed me
Defendant #4: from the treatment list because I no longer met UTMB critiera for treatment.

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Defendant #5: eae

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

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STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen.
when did tt happen, and who was involved. Describe how gach defendant is involved. Younecd noi give
any legal arguments or cite any cases or statutes. If you intend 10 allege a number of related claims. number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaimt must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPLAINT.

I have Hepatitis C, this is a potentially deadly disease left untreated, UTMB is a
“For Profit" group, and by applying such high standards/numbers to meet_a certain

criterta it is often to high, and too late to remain healthy for treatment. I was

diagnosed with Hep C by UIMB, they are aware of my medical condition.._Ms.Corbett
was the first to make the referal to UTMB Galveston for treatment: later removed me

for failure to meet the medical criteria for treatment; Ms Lawson was aware of. my. con-

dition due to the Grievance procedure on the Unit; and Dr. Kwarteng was aware of the

medical condition because he is the Medical Director who is responsibile for approving

necessary treatments. (See Attached Documentation)

RELIEF:
State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.

I am requesting that this Court intervene on my behalf, and issue an order to UIMB to

do the right thing by treating me before it's too late for a treatable condition.

JENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and all aliases.

Alex Joseph Roy, Jr.; A.J. Roy; Al Roy __ ee ete eens

B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federa!

prison or FB] numbers ever assigned to you.

TDC # from 1983 - 1987 forgotten; TDCJ-CID #00480829 1987 thru present day

SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have tiled? YES XXXNY)

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

}. Court that imposed sanctions (if federal, give the district and division): N/A oe

2. Case number: | N/A ee
3. Approximate date sanctions were imposed: N/A _ - oo
4, Have the sanctions been lifted or otherwise satisfied? N/A YES NO

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C. Has any court ever warned or notified you that sanctions could be imposed? YES XXXNO

D. If your answer is “yes,” give the following information for every lawsuit in which a waming was issued.
(if more than one, use another piece of paper and answer the same questions.)

1. Court thatissued warning (if federal, pive the district and division): N/A _
2. Case number: . N/A. nt
3. Approximate date warning was issued: N/A. ween

Executed on:

PLAINTIFF’S DECLARATIONS

]. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. | understand, if I am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. J] understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4. J understand [ am prohibited from bringing an in forma pauperis lawsuit if ] have brought three or more

civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless | am under
imminent danger of serious physical injury.

5. lunderstand even if] am allowed to proceed withoutprepayment of costs, 1 am responsible for the entire
filing fee and costs assessed by the court. which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

day sw lantuanrt . 20 MT.

(month) (year)

Ale Koy
hy faye

(Signature ofPfaintiff)

Signed this

WARNING: Plaintiff is advised any faise or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

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